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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

       v.                                               Criminal Action No. 1:21-cr-0670 (CJN)

STEPHEN K. BANNON,

               Defendant.


                                               ORDER

        The United States has moved to lift the stay of Defendant Stephen K. Bannon’s sentence

following the Court of Appeals opinion affirming his conviction. See ECF No. 193; see also

United States v. Bannon, No. 22-3086, 2024 WL 2102236 (D.C. Cir. May 10, 2024). For the

reasons explained at today’s hearing, the Court concludes that Defendant’s appeal no longer

raises a substantial question of law that is likely to result in a reversal or an order for a new trial

under 18 U.S.C. § 3143(b)(1)(B).

        Accordingly, it is

        ORDERED that the Motion is GRANTED; it is

        FURTHER ORDERED that Defendant Stephen K. Bannon shall report to the Bureau of

Prisons by July 1, 2024.


DATE: June 6, 2024
                                                                CARL J. NICHOLS
                                                                United States District Judge




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